10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaS€ 05-10001 Filed 06/08/11 DOC 384

  

 

 

 

NOT FOR PUBLICATION
JUN 0 8 2011
res ammuch COL’FJ"
U:AHESTDE:TNAo\sTR\cT oF cAuFoRN
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF CALIFORNIA f
In re Case No. 05-10001-A-7 \/
DC NOS. CF-l; CF-3; JF-lO
DDJ, INC.
Debtor.
/
In re Case No. 05-10002-A-7
DC Nos. CF-2; CF-3; JF-lO
DDJ, LLC
Debtor.
/

 

of DDJ, Inc. (OS-lOOOl-A-7) and DDJ, LLC (OS-lOOOZ-A-7). They

ar€:

FINDINGS OF FACT AND CONCLUSIONS OF LAW

Various matters are under submission in the chapter 7 cases

Motion to Vacate Court Order Dated September 5, 2007
approving Settlement Agreement (DC No. CF-2 in the DDJ, LLC
case).

Motion to Remove James E. Salven as Chapter 7 Trustee (DC
No. CF-l in the DDJ, Inc. case).

Motioh to Reconsider Order Granting Sale of Property (DC No.
CF-3 in both cases).

Motidn for Sanctions (DC No. JF-lO in both cases).

1

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

The motions with Docket Control Numbers “CF” were brought by
Connie Flores, and the motions with Docket Control Numbers “JF”
were brought by her husband, Joe Flores. All the motions are the
latest in skirmishes between Mr. and Mrs. Flores and the chapter
7 trustee. Both cases were filed in 2005. In 2007, Mr. and Mrs.
Flores and the chapter 7 trustee entered into a settlement of the
issues between them. However, Mr. and Mrs. Flores now challenge
that settlement and seek to vacate it. They seek to remove Mr.
Salven as trustee of the DDJ, Inc. case, and they ask the court
to reconsider an order approving the sale of the trustee's
litigation claims. Additionally, they seek sanctions.

The court will, herein, enter its findings of fact and
Conclusions of law on the motions described above, which were
taken under submission. This memorandum contains findings of
fact and conclusions of law required by Federal Rule of
Bankruptcy Procedure 7052 and Federal'Rule of Civil Procedure 52.
This is a core proceeding as defined in 28 U.S.C. §157(b)(2)(A).

The court will first describe the background relevant to
each matter.

In 1999, Joe Flores sued DDJ, Inc. and DDJ, LLC in the
United States District Court for the Eastern District of
California. That case became known as “Flores I.”

Dennis Hagobian was an officer and director of DDJ, Inc.,
and Victoria Hagobian was a nominal director of DDJ, LLC for a
time. In the course of the Flores I litigation, Mr. Flores
attempted to add Dennis Hagobian as a defendant.

Eventually, judgment was entered against the debtor

corporations, but not against any individual defendant, in 2004.

2

 

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

Mr. Flores then began to try to collect on the judgment.` The
corporations did not have the money to pay.

Mr. Flores then filed suit against the Hagobians in 2004 in
the district court. That lawsuit became known as “Flores II.”

He then filed another action in 2005 against Emerick and
Fike, et al., and that became known as “Flores III.”

The debtors filed their petitions for bankruptcy in January
2005.

Flores I, II, and III were stayed until the trustees for
each of the debtors could settle their disputes with Mr. and Mrs.
Flores over who owned the Flores I alter ego claims and the
Flores II fraudulent transfer claims.

The trustees and the Floreses entered into a settlement.
That settlement provided that the trustees would join the Flores
I and Flores II matters and abandon Flores III to Mr. and Mrs.
Flores. Since the stay was lifted, all three matters have been
dismissed and final judgments entered.

Mr. Flores then filed a related action in bankruptcy court
against the debtors, their trustees, and the Hagobians, among
others, alleging that the Floreses should stand as a priority
creditor on the basis of asserted PACA violations. That action
was brought in the Enoch Packing Company bankruptcy case. That
adversary proceeding became known as “Flores IV.”

This court dismissed Flores IV on the basis that no PACA
trust had been preserved. That ruling was affirmed by the
district court and also affirmed by the Ninth Circuit.

In 2008, Mr. Flores filed an action in Fresno County

Superior Court reiterating and adding to the claims set forth in'

3

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

Flores II. Then there was a dispute in that action about whether
Mr. Flores was a vexatious litigant.

In 2009, Mr. Flores filed a second action in Fresno County
Superior Court repeating, to a greater or lesser extent, the
claims that had been made in the Flores I action.

In short, there has been a great deal of litigation by Mr.

and Mrs. Flores against the debtors and others.

DDJ LLC DC No. CF-2 Motion to Vacate Court Order A rovin
Settlement Agreement.

A hearing on this motion was held March 9, 2011, and the
court took it under submission at that time. In 2007, a
Settlement Agreement was entered into between and among Mr. and
Mrs. Flores, Mr. Salven as chapter 7 trustee for DDJ, Inc., and
Beth Stratton (then chapter 7 trustee for DDJ, LLC). The court
had referred the dispute among the parties to the Honorable
Michael S. McManus, Bankruptcy Judge for the Eastern District of
California, as settlement judge. Following meetings with Judge
McManus, the parties entered into a Settlement Agreement, which
Judge McManus caused to be put on the record on December 29,
2006. Subsequent to that time, a dispute arose about the
Settlement Agreement, and the parties revised it in a handwritten
document. The parties then asked the court to approve it as the
September 5, 2007 Settlement Agreement, which incorporated both
the agreement reached with the assistance of Judge McManus and
the handwritten document. It is the order approving this
settlement which by this motion Mr. and Mrs. Flores seek to

Vacate .

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

The motion is brought under Federal Rule of Bankruptcy
Procedure 9024, which incorporates Federal Rule of Civil
Procedure 60. Under Rule 60(b), a court may relieve a party from
a final judgment or order if, among other reasons, the judgment
is void (Rule 60(b)(4)); or for any other reason that justifies
relief (Rule 60(b)(6)). The Floreses proceed on these grounds.

Relief under Rule 60(b) is an extraordinary remedy and is
not a substitute for direct appeal of a judgment. When an error
of law is alleged, the proper vehicle for an attack on that error
is a direct appeal. In re Design Classics¢ Inc., 788 F.2d 1384
(8ch Cir. 1986). A motion under Rule 60(b) must be made within a
reasonable time.

Here, the order approving the Settlement Agreement was
entered September 5, 2007. A hearing on the motion to vacate was
held in March 2011.

The motion is based on the grounds that the ruling in gang
v. Duckorl Spradling & Metzger, 72 Cal. App. 4th 54 (1999) holds
that professional malpractice and breach of fiduciary duty claims
may not be assigned or sold by a bankruptcy trustee under
California law and public policy. According to Flores, the
September 5, 2007 Settlement Agreement is illegal because under
it, the claims of the chapter 7 trustee in DDJ, LLC were assigned
to DDJ, Inc. The alleged assigned claims were for breach of
duty, professional negligence, and malpractice against the
“Georgeson Defendants.”

According to Mr. and Mrs. Flores, the “void” assignment of
malpractice claims makes the entire settlement invalid.

The language that the Floreses find troubling is in the

5

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

transcript from the December 29, 2006, portion of the Settlement
Agreement. In that document, Judge McManus stated:

“The LLC case, DDJ, LLC, will assign - - will either assign

its claims as presented in the District Court Flores I and

II matters to DDJ, Inc., or, if assignment is - - doesn't

work to the best advantage of the parties - - the two - -

the two bankruptcy estates, it will remain in the name of

DDJ, LLC, but DDJ, Inc. and its trustee will control the

disposition of those assets.”

Judge McManus then went on to state “The LLC - - LLC's
rights are being either assigned to the Inc. case or it' LLC
controlled by the Inc. case.”

And further, the transcript reads:

MR. ARMSTRONG [counsel for Mr. Salven]: Any rights of the

LLC will be assigned to the Inc. case. Whatever rights the

LLC may - -

MS. STRATTON [former trustee for DDJ, LLC]: All LLC's claims

THE COURT: All LLC claims.

MS. STRATTON: - - causes of action.

THE COURT: Everything.

MS. STRATTON: It will be assigned to Inc.

THE COURT: Right. That's taken care of in that general
provision.

At the time the parties entered into the Settlement
Agreement, they were concerned with claims that were then pending
in two District Court actions known as Flores I and Flores II and
also in an action in State Court. Only the action in State Court
remains pending. The District Court actions have been decided
adversely to the bankruptcy estates and to Flores.

The motion to vacate the court ordered Settlement Agreement
will be denied by separate order. First, the motion was brought

more than three years after an order approving the Settlement

6

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

Agreement was entered. In the intervening time, all parties have
relied on the Settlement Agreement.

Second, there is no requirement in the Settlement Agreement
that any non-assignable claims be assigned from the LLC to the
Inc. case. Rather, the agreement provides that if it is
appropriate to assign the claims, they will be assigned, and if
it is not appropriate, they will be jointly prosecuted. The
declaration of James Salven in support of his opposition to the
motion to vacate the Settlement Agreement states that he jointly
prosecuted the claims of the respective bankruptcy estates.

There was no assignment.

There are no extraordinary circumstances existing to justify
relief under Rule 60(b)(6). Rather, the outcome of the
Settlement Agreement was not what the parties hoped. That is not
a reason to set aside the Settlement Agreement.

For the above reasons, the motion to vacate the Settlement

Agreement will be denied.

DDJ Inc. DC No. CF-l Motion to Remove James E. Salven as
Chapter 7 Trustee of DDJ, Inc.

On January lO, 2011, Connie Flores filed a motion to remove
James E. Salven as trustee for DDJ, Inc. A hearing on that
motion was held March 9, 2011, after which time the court took
the matter under submission. The motion states that Salven has
violated Bankruptcy Code § 704(a)(1), (2), (4), and (6). The
motion also refers to Bankruptcy Code § 324(a). Section 324(a)
provides that the court may remove a trustee for cause. Section

704(a) describes the duties of a chapter 7 trustee. According to

Flores, Salven has been incompetent in the actual performance of

7

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

his duties; has failed to investigate the financial affairs of
the debtor; has failed to take appropriate litigation steps; has
misappropriated assets from the estate by conspiring with
adversaries; has breached his contracts; has breached fiduciary
duties; and has disobeyed the court's September 5, 2007 Order
Approving Settlement Agreement. She further asserts personal
misconduct and abuse of process.

Salven filed a declaration denying each of the allegations
in the motion. The underlying factual history that gave rise to
the dispute is not in controversy. It is, rather, the
interpretation of those facts about which the parties disagree.

In the early part of the DDJ, Inc. case and the related case
of DDJ, LLC, Joe Flores, the spouse of Connie Flores, filed
numerous motions seeking to pursue various claims in the District
Court. Those claims are generally known as the Flores I and
Flores II cases. Eventually, Flores sought to remove Salven as
trustee by a motion filed in August 2006. The court referred the
matters pending among the trustees of the two chapter 7 cases and
Mr. and Mrs. Flores to a settlement judge, and the Honorable
Michael S. McManus, Bankruptcy Judge for the Eastern District of
California, held a settlement conference in the two cases. As a
result of the settlement conference, the parties entered into a
Settlement Agreement. After that agreement was modified, the
Court approved a settlement among the parties by an order dated
September 5, 2007. That Settlement Agreement contemplated that
Salven would prosecute claims of DDJ, Inc. and DDJ, LLC, to
conclusion.

As approved, the Settlement Agreement provided that Joe

8

 

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

Flores and Connie Flores would continue to be parties plaintiff
in Flores I and Flores II and would jointly prosecute those cases
with Salven to their conclusion. Those cases, District Court
cases, have now been concluded in rulings adverse to the estates
and to Mr. and Mrs. Flores.

The Settlement Agreement also provided that a case known as
“Flores III, District Court No. CIV-05-029l" was preserved solely
for the benefit of Joe and Connie Flores.

Also as a result of the Settlement Agreement, Mr. and Mrs.
Flores withdrew their motions to remove Mr. Salven as trustee of
the DDJ, Inc. case and Ms. Stratton as trustee of the DDJ, LLC
case.

There is also a state court action (“State Court Action”).
That action was to be prosecuted jointly by Salven and by Flores.
Ultimately, Salven decided to dismiss certain claims in the State
Court Action which constituted professional malpractice claims
against the Georgeson law firm. Regarding this claim, Salven
states:

“After meeting with Mr. Georgeson, his attorney, Justin

Campagne, Esq., and Mr. Armstrong on November 23, 2010,

listening to the facts as explained by Mr. Georgeson that

they would move into evidence, considering the scant
information provided by Mr. Nunez as special counsel to me
regarding the State Court Action, I directed Mr. Armstrong
to send a letter to Mr. Nunez to immediately dismiss the

Georgeson & Belardinelli defendants and their principals

from the State Court Action with prejudice.”

Prior to November 2010, Mr. Salven also learned that he had
been sanctioned in the State Court Action, in which, pursuant the

September 5, 2007 Settlement Agreement, he was represented by

Henry Nunez. According to Mr. Salven,

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

CaSe 05-10001 Filed 06/08/11 DOC 384

“On November 23, 2010, I personally spoke telephonically
with Mr. Nunez, who admitted that the sanctions were issued,
and further, that he personally paid the sanctions without
ever advising me of the same.”

According to Mr. Salven, Mr. Nunez never apprised him of
outstanding discovery and only advised Salven of the monetary
sanctions when Salven telephoned him about them.

Salven made reasonable litigation decisions in connection
with the State Court Action. His actions with respect to the
State Court Action did not amount to breach of fiduciary duty or
failure to pursue preferential transfers or fraudulent
conveyances. Rather, they were appropriate litigation judgment.

Further, Salven offered to sell the claims of the estate in
the State Court Action to Mr. and Mrs. Flores. However, an
overbid was received from certain defendants for the State Court
Actions known as the “Hagobian Defendants” and others.
Ultimately, the court approved that overbid.

Salven made a reasonable business decision to sell the
claims, and that decision has been approved by this court.

The proper test for removal of a bankruptcy trustee is
totality of the circumstances. In the matter of AFI Holdingl
lng;, 530 F.3d 832, 848-849 (2008). The party seeking to remove
a chapter 7 trustee has the burden of proof.

Based on all the facts and circumstances of the DDJ, Inc.
chapter 7 case, the court finds and concludes that Mrs. Flores
has failed to meet her burden of proof. Salven entered into a
Settlement Agreement with Mr. and Mrs. Flores, which was approved
by this court. Subsequently, he made a business decision to sell

certain claims to the Hagobian Defendants and others. That sale

10

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 05-10001 Filed 06/08/11 DOC 384

was approved by this court.

Additionally, there is no reason for an evidentiary hearing.
There is little, if any, dispute about the facts. Rather, the
dispute is about whether based on those facts, there has been a
breach of the duty that the chapter 7 trustee owes to the
creditors and to the estate. The court has concluded that there
was no such breach.

For the above reasons, the motion to remove Mr. Salven will

be denied by separate order.

Motion to Reconsider Court Order Approving Sale of Property in
both DDJ, Inc. and DDJ, LLC (DC Nos. CF-3 in each case).

On April 26, 2011, Connie Flores filed a motion asking the
court to reconsider its order approving sale of the litigation
claims. Joe Flores joined in that motion. The claims of which
the court approved a sale were claims in a state court lawsuit
Captioned In re James E. Salven, et al. v. Dennis Haqobian, et
al;, State Court Case No. 08-CE-CG-03585 filed in the Fresno
County Superior Court.

A hearing on the motion to approve the sale of the claims
had been held December 16, 2010. The court took the matter under
submission and put its Findings of Fact and Conclusions of Law on
the motion to approve the sale on the record on March 9, 2011.

An order was entered on April ll, 2011. The motion for
reconsideration was filed April 26, 2011, under Federal Rule of
Bankruptcy Procedure 9023; Federal Rule of Civil Procedure
52(a)(5); and Federal Rule of Civil Procedure 60(b)(3), (4), (6),

and (d)(3).

11

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 05-10001 Filed 06/08/11 DOC 384

The order granting sale of litigation claims states:

“l. The Motion for Sale of Litigation Claims Pursuant to ll
U.S.C. § 363(b) filed by James E. Salven, as Chapter 7
Trustee for the Estate of de, Inc., Case No. 05-10001, and
pursuant to the December 29, 2006 Settlement Agreement
previously approved by this Court, as the representative of
the bankruptcy estate of DDJ, LLC, Case No. 05-10002, is
granted;

2. The bankruptcy estates of DDJ, Inc. and DDJ, LLC are
authorized to sell the litigation claims to the Hagobian
Defendants, the Davidson and Hedberg Defendants, and the
Yeramian/Vartan Defendants, as prayed for in the Motion and
in conformity with Mr. Salven’s Further Declaration filed on
December 9, 2010 in support of the Motion for the total sum
of $60,750.55 consisting of $55,000.00 in cash to be
received from the Hagobian and Davidson/Hedberg Defendants,
and a waiver of costs incurred by the Yeramian/Vartan
Defendants in regards to costs incurred in appeal in
relation to the State Court action, commonly referred to as
Flores V, bearing Fresno County Superior Court case No. 08-
C-CG-O35850DSB; and

3. A copy of this order may be filed or lodged in Fresno

County Superior Court case No. 08-CE-CG-O3585-DSB.”

The grounds for the motion now before the court are that the
documentary evidence in support of the motion for sale of
litigation claims was insufficient, particularly in light of the
evidence in opposition filed by Mr. and Mrs. Flores; that the
moving parties violated the court's deadline for overbids; that
Mr. Salven, Mr. Armstrong (his attorney), and Ralph Swanson
misrepresented the overbid situation; that the claims in the
litigation are personal and cannot be assigned or sold; and that
Mr. Salven’s business judgment does not meet the appropriate
standards.

A motion for order approving sale of litigation claims
pursuant to Bankruptcy Code § 363(b) was filed by James Salven on
October 19, 2010. In that motion, Salven stated that he intended

to sell certain litigation claims to CBP4Justice, LLC. The

12

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 05-10001 Filed 06/08/11 DOC 384

members of CBP4Justice, LLC, are Connie Flores and two sons of
Mr. and Mrs. Flores. The claims in question were the claims in
the State Court Action, and the proposed sale price was the first
$150,000 collected on any judgment. Additionally, pursuant to
the proposed sale, Mr. and Mrs. Flores would withdraw any claims
against the estates, and the administrative expenses of Mr. Nunez
would be limited to $5,000.

At the hearing, objections were lodged by the Hagobian
Defendants. They sought time to present a cash settlement offer
to the trustee. The court allowed the defendants, two entities
who opposed the motions, to present a cash settlement offer. The
court stated:

“So, I am going to set these two motions out for final

hearing, and the final hearing will be December 16ch at 9:00

a.m. And any further opposition to either motion needs to

be filed and served by November 26”, and any - and that

further opposition could include a proposed offer that you'd
like to see the court accept. Any reply needs to be filed
and served by no later than December 9m.”

At the November 2, 2010 hearing, the court additionally
stated that “If there's going to be an overbid by either of the
two objecting parties, it [shall] be in Mr. Armstrong's - - sent
to Mr. Armstrong for his receipt by November 22“.”

When Mr. Flores pointed out that he wouldn’t know what the
over bidders would be bidding, the court said “Well, they can
serve it on Mr. Armstrong, and he can give you a copy.”

The civil minute order following the hearing on November 2,
2010, stated:

“IT IS ORDERED that the Trustee's Motion for sale is

continued to 12/16/10 at 9:00 a.m. in Courtroom 11, Fifth
Floor, 2500 Tulare Street, Fresno, California.

13

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 05-10001 Filed 06/08/11 DOC 384

IT IS FURTHER ORDERED that any further opposition shall be
filed and served by 11/26/10. Any reply shall be filed and
served by 12/9/10. Any overbids shall be presented to Mr.
Armstrong by 11/22/10.”

On December 9, 2010, James Salven filed a declaration
stating that he had received a timely counter-offer from the
Hagobian Defendants, the Vartan Defendants, and the Davidson and
Hedberg Defendants, to purchase the claims in question. He
describes that their offer consisted of $55,000 in each and an
agreement not to pursue additional costs in a lawsuit known as
Flores VI. The declaration goes on to state:

“Based upon the fact that Special Counsel has not yet
progressed beyond the pleading stage in the state court
actions, his failure to communicate with me and/or General
Counsel, the fact that the outcome in Flores I and Flores II
was not favorable for the estates, at this juncture it is my
considered business opinion that the offer to sell the
claims for $55,000.00 cash now, plus waiver of costs by the
Vartan Defendants, to the Hagobian, Davidson and Hedberg,
and Vartan Defendants is in the best interest of the estates
as it provides cash now, closureL and is not speculative as
is the CBP4Justice, LLC offer. I would ask the Court to
consider my business opinion and to rule on which presents a
better scenario for the bankruptcy estates, taking money now
or risk litigation in perpetuity and futility with the risk
of the estates, its special counsel, and creditors being
borne with administrative expense claims that would render
these estates administratively insolvent. I respectfully
request that the Court consider this and approve the sale to
the Hagobian Defendants, the Davidson and Hedberg Defendants
and the Vartan Defendants which I believe presents the best
offer to the bankruptcy estate.”

On December 14, 2010, Joe and Connie Flores filed objections
to this declaration by James Salven. Also on that date, Mr.
Flores filed a Reply Memorandum in opposition to the proposed
sale to the three groups of defendants and in support of the sale
of the litigation claims to CBP4Justice, LLC. On December 16”,
a hearing was held, and each party presented argument.

On March 9, 2011, the court put on the record its Findings

14

 

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

Case 05-10001 Filed 06/08/11 DOC 384

of Fact and Conclusions of Law with respect to the motions in
each case for order approving sale of the litigation asset. At
that time, the court found and concluded that sale to the
Hagobian/Vartan and Davidson and Hedberg Defendants was in the
best interest of the estate and that Mr. Salven had exercised
reasonable business judgment in recommending that resolution.

Moving party has failed to come up with any newly discovered
evidence not available at the time of the original hearing and
has failed to point to evidence that establishes a manifest error
of law or fact. Mr. and Mrs. Flores had ample time to make av
higher bid.

For the above reasons, the motion to reconsider the order
granting sale is denied. Additionally, the court finds, based on
the entirety of the record, that the trustee and the buyers have
proceeded in good faith. The purchasers have been involved in
litigation in various fora for numerous years with Mr. and Mrs.
Flores. Attempting to resolve that litigation by purchasing the
claims from the trustee is, in the court's view, in good faith

under Bankruptcy Code § 363(m).

Motions for Sanctions in each case.

Joe Flores has filed motions for sanctions in each case
under DC No. JF-lO. Connie Flores has joined in the motions for
sanctions. The motions for sanctions were filed in February
2011. The motions for sanctions contend that Salven and
Armstrong “have both made misrepresentations to this Court (which `

amounts to falsity and fraud on this Court) in order to gain an

15

 

 

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

28

 

Case 05-1`0001 Filed 06/08/11 DOC 384

upper hand and favorable ruling from this Court in what Salven
and Armstrong coined as a business decision to sell claims.”

The statements made by Salven and Armstrong, of which Flores
complains, are simply statements with which Mr. Flores disagrees.
They are not statements that are sanctionable under Federal Rule
of Bankruptcy Procedure 9011. n

The court is denying the motion to reconsider sale of the
litigation claims; to remove the trustee; and to reconsider the
September 2007 Settlement Agreement. All of the issues that
Flores raises in the motion for sanctions are issues that are
addressed in the other motions before the court. The fact that
Mr. and Mrs. Flores disagree with Mr. Salven’s and Mr.
Armstrong's interpretation of events does not mean that Mr.
Salven’s or Mr. Armstrong’s statements were misrepresentations.
The declarations of Mr. Salven and Mr. Armstrong filed in
opposition to the motions for sanctions make it clear that both
Mr. Armstrong and Mr. Salven were proceeding in good faith. The
fact that reasonable people may differ does not mean that
sanctions are appropriate,

For the foregoing reasons, the motions for sanctions will be

denied.

DATED: 9 3 (‘

  

 

WHITNEY RIME , udge
United Stat s ankruptcy Court

16

 

